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  DOWD, J.

                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

  United States of America                         )
                                                   )     CASE NO. 1:06CR00594-031
                 Plaintiff(s),                     )
                                                   )
         v.                                        )     ORDER
                                                   )
  Michael Wilkerson                                )
                                                   )
                 Defendant(s).                     )
                                                   )



                 A hearing was conducted on April 16, 2013, regarding a petition filed by the U.S.

  Probation Office regarding violations of the defendant of the terms and conditions of supervised

  release. The defendant Michael L. White and his counsel, Darin Thompson appeared. A report

  and recommendation was filed on December 21, 2012, (see docket # 1524). The Court adopts the

  report and recommendation of Magistrate Judge Nancy Vecchiarelli and finds the defendant in

  violation of his terms and conditions of supervised release as stated in the Violation Report.

         IT IS ORDERED that the defendant pay a fine in the amount of $100.00 to be paid to the

  Clerk of Court by April 23, 2013. Defendant’s supervised release is to continue as previously

  imposed.



   April 16, 2013                                 /s/ David D. Dowd, Jr.
  Date                                          David D. Dowd, Jr.
                                                U.S. District Judge
